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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                           CRIMINAL ACTION NO. 04-50091-02

 versus

 KARL EUGENE “GENE” PEACOCK                         JUDGE S. MAURICE HICKS, JR.

                                  MEMORANDUM RULING

          Before the Court is Karl Eugene “Gene” Peacock’s (“Peacock”) motion to vacate,

 set aside, or correct sentence under 28 U.S.C. § 2255. Based on the following, Peacock’s

 motion is DENIED.

 I.       PROCEDURAL HISTORY

          Peacock was charged in a multi-count indictment on June 24, 2004. January 6,

 2005, Peacock pled guilty to Counts One and Ten of the Superseding indictment,

 conspiracy to distribute 50 grams or more of methamphetamine in violation of 21 U.S.C.

 §841(a)(1) and §846 and possession of a dangerous weapon in violation of 18 U.S.C.

 §924(c)(1). The pre-sentence report (“PSR”) classified Peacock as having a criminal

 history of II and a Total Offense Level of 31 for guidelines purposes. The report attributed

 conservatively 96 ounces of methamphetamine to Peacock and acknowledged that at the

 guilty plea Peacock had only accepted responsibility for 25 ounces of methamphetamine.

 There were no objections to the PSR findings by either the government or the defense.

 Peacock was subsequently sentenced to a total of 240 months, the statutory minimum.

 Peacock then filed the instant motion for relief under 28 U.S.C. §2255.

          Peacock argues that he received constitutionally ineffective assistance of counsel

 and that this court should therefore vacate, set aside, reverse or correct his illegal sentence
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 under 28 U.S.C. §2255.

 II.    LAW AND ANALYSIS

        The government argues that Peacock’s section 2255 claims cannot be presently

 considered. “Challenging a conviction and sentence with a section 2255 motion is

 fundamentally different from a direct appeal.” United States v. Samuels, 59 F.3d 526, 528

 (5th Cir. 1995). The Fifth Circuit has held:

        Relief under 28 U.S.C.A. § 2255 is reserved for transgressions of
        constitutional rights and for a narrow range of injuries that could not have
        been raised on direct appeal and would, if condoned, result in a complete
        miscarriage of justice. Nonconstitutional claims that could have been raised
        on direct appeal, but were not, may not be asserted in a collateral
        proceeding.

 United States v. Vaughn, 955 F.2d 367, 368 (5th Cir. 1992) (citations omitted). “Section

 2255 does not reach errors of a constitutional or jurisdictional magnitude that could have

 been reached by direct appeal.” United States v. Seyfert, 67 F.3d 544, 546 (5th Cir. 1995).

 However, the Supreme Court held in Massaro v. United States, 538 U.S. 500 (2003), that

 an “ineffective-assistance-of-counsel claim may be brought in a collateral proceeding under

 §2255, whether or not the petitioner could have raised the claim on direct appeal.” Thus,

 we will consider Peacock’s claim of ineffective assistance of counsel.

        Peacock alleges his counsel (1)failed to sufficiently research his case, (2) failed to

 properly advise him of the maximum sentence for the crimes to which he pled guilty, (3)

 and failed to notify him of a conflict of interest that prejudiced his right to a fair proceeding.

                             Ineffective Assistance of Counsel

        To prevail on a claim of ineffective assistance of counsel, Peacock must prove

 (1) that his counsel’s actions fell below an objective standard of reasonableness and (2)

 that his counsel’s ineffective assistance was prejudicial. See Strickland v. Washington,
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 466 U.S. 668 (1984); Wong v. Belmontes —U.S.—, 2009 WL 3805746 (2009); Bryant

 v. Scott, 28 F.3d 1411, 1414-1415 (5th Cir. 1994). Under the first prong on the

 Strickland analysis, the Court is to presume that the attorney’s actions are

 encompassed within the wide range of reasonable competence and fall under the ambit

 of trial strategy. See Strickland, 466 U.S. at 689. Peacock may overcome this

 presumption only by showing that under the “totality of the circumstances,” the

 attorney’s performance was “outside the wide range of professionally competent

 assistance.” Id. at 690. An attorney cannot be considered ineffective simply for failing

 to raise a meritless claim. Sones v. Hargett, 61 F.3d 410, 415 n.5 (5th Cir. 1995).

        To establish prejudice, Peacock must show “that there is a reasonable

 probability that, but for counsel’s specified errors, the result of the proceeding would

 have been different.” Murray v. Maggio, 736 F.2d 279, 282 (5th Cir. 1984); Belmontes

 2009 WL 3805746 (2009). “A reasonable probability is a probability sufficient to

 undermine confidence in the outcome.” Strickland, 466 U.S. at 694. To satisfy the

 prejudice prong of the Strickland test in the context of a non-capital sentencing

 proceeding, Peacock must establish “a reasonable probability that, but for the deficient

 performance of counsel, his sentence would have been significantly less harsh.” United

 States v. Seyfert, 67 F.3d 544, 548 (5th Cir. 1995). If Peacock fails to establish either

 prong of the Strickland test, then his claim of ineffective assistance of counsel must fail.

               1.     Failure to sufficiently research Peacock’s case

        Peacock alleges that his counsel did not sufficiently research his case.

 Specifically, Peacock argues that additional research would have shown that Peacock

 “had a very minimal role in the alleged conspiracy” and that Peacock “never had any
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 intention to play a major role in the alleged conspiracy.” Peacock never asserts that

 research would have shown he was innocent of the charges or did not participate in the

 conspiracy. Rather, the import of his statements appear to be that research would have

 shown Peacock was a minor player in the conspiracy.

        In order for an alleged failure to research to be considered constitutionally

 deficient performance, the resulting defense must be meritorious. Sones v. Hargett, 61

 F.3d 410, 415 n.5 (5th Cir. 1995) (holding that an attorney’s performance cannot be

 considered deficient for simply failing to raise a meritless claim). A defendant’s

 classification under the guidelines may be reduced if he was a “minor participant.”

 U.S.S.G. §3B1.2. However, Peacock was sentenced to the minimum sentence under

 the statute, not the guidelines. A reduction in his guidelines calculation could not have

 reduced his sentence. Thus, any defense based on his minor role would have been

 meritless and counsel was not deficient for failing to pursue such a defense.

     Further, counsel’s actions must result in actual prejudice to the defendant to satisfy

 the Strickland standard. There is nothing in the record that indicates his sentence could

 have been mitigated had such evidence been produced.1 As mentioned above,

 Peacock was sentenced to the statutory minimum for the crimes to which he pled guilty.

 Therefore, there was no prejudice from counsel’s alleged failure to investigate his

 “minimal role” in the conspiracy and Peacock’s claim fails.

               2.     Failure to accurately inform Peacock of the maximum possible
                      sentence for the crimes to which he pled guilty.

        Plaintiff signed a plea agreement which states in relevant part:



        1
         As a side note, such evidence was in the record reviewed by the sentencing
 judge in the form of a letter from Peacock.
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        Defendant . . . understands and acknowledges that the maximum punishment on
        Count 1 is a term of imprisonment of not less than 10 years nor more than life . .
        . Defendant further understands and acknowledges that the maximum punishment
        on Count 10 is a term of imprisonment of not less than 10 years consecutive to
        any other sentence you (sic) receive.

 (Emphasis added). This document clearly shows that Peacock was informed as to the

 maximum penalty he could receive and that the sentences would be served consecutively.

        In addition, the signed plea agreement goes on to state, “Defendant

 acknowledges and agrees that the failure of the Court to adhere to a sentencing

 recommendation tendered by counsel shall not be a basis for setting aside the guilty

 plea which is the subject of this agreement.” This also indicates that Peacock was on

 notice that his counsel could not guarantee a certain sentence.

        Documents signed by the defendant at the time of the guilty plea are entitled to

 “great evidentiary weight.” United States v. Abreo, 30 F.3d 29, 32 (5th Cir. 1994).

 Peacock has presented no evidence to contradict the record. While he claims counsel

 failed to represent accurately his potential sentence, his signed plea agreement directly

 contradicts that assertion. Pea fails to show that his counsel’s actions fell below the

 constitutional standard of competence and that his counsel’s actions resulted in

 prejudice as required by Strickland. Therefore, his claim fails.

               3.     Failure to notify Peacock of a conflict of interest

        Peacock claims that his counsel “had a conflict of interest on whether the

 Petitioner was actually giving Counsel a true explanation of all facts.” In other words,

 Peacock believes that his counsel was unable to present an adequate defense since

 his counsel did not believe his version of the facts. He cites counsel’s failure to

 research his case adequately as an indication that counsel did not believe that Peacock
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 had a minimal role in the conspiracy. However, as mentioned above, Peacock has not

 shown what relevant facts could have been researched that might have changed the

 sentence or resulted in Peacock not taking the offered plea. As he has admitted in

 filings with this court, Peacock is guilty of the charged offenses. He only claims that his

 role was minimal, which is irrelevant since any reduction would have been taken under

 the guidelines and Peacock was sentenced to the statutory minimum, not the guidelines

 minimum. Further, Peacock has not presented any facts, other than his own

 perceptions that any conflict did indeed exist. Bare allegations by a defendant without

 any corroborating evidence are not considered to be of probative value. Ross v.

 Estelle, 694 F.2d 1008,1011-1012 (5th Cir. 1983). Therefore, since Peacock has not

 shown that a conflict actually existed and if it did that such a conflict prejudiced him in

 any way, Peacock has failed to satisfy either prong of Strickland and his claim fails.

 IV.     Conclusion

         Peacock’s various complaints regarding ineffective assistance of counsel at

 sentencing, ineffective assistance of counsel on appeal, and his sentence under section

 2255 fail. Therefore, his motion to vacate, set aside, or correct sentence under 28

 U.S.C. § 2255 is DENIED.

         A judgment consistent with the terms of this Memorandum Ruling shall issue

 herewith.

         THUS DONE AND SIGNED at Shreveport, Louisiana, this 4th day of December,

 2009.
